          Case 14-80287-JJG-13
 Fill in this information to identify the case:
                                                     Doc         Filed 05/04/20        EOD 05/04/20 15:21:03            Pg 1 of 4
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1               Brian Todd Pointer
                       __________________________________________________________________

                        Elizabeth Louise Pointer
 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            Southern                         Indiana
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number
                        14-80287
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                  U.S. Bank Trust National Association, as Trustee of Chalet Series Court claim no. (if known):
 Name of creditor:                ______________________________________
                                  III Trust                                                         14
                                                                                                    _________________
                                                                              9
                                                                              ____ 4 ____
                                                                                   ____ 8     0
                                                                                             ____
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                663 Durkee's Ferry Rd
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  West Terre Haute               IN    47885
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

        Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

        Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date               $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

        Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
                                                                                 5     1    2020
                                                                                 ____/_____/______
        The next postpetition payment from the debtor(s) is due on:
                                                                                 MM / DD    / YYYY

        Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                         (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                +   (b)   $ __________

        c. Total. Add lines a and b.                                                                                        (c)   $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became              ____/_____/______
        due on:                                                                  MM / DD / YYYY


Form 4100R                                                 Response to Notice of Final Cure Payment                                    page 1
           Case 14-80287-JJG-13                           Doc         Filed 05/04/20          EOD 05/04/20 15:21:03                      Pg 2 of 4


Debtor 1
                 Brian Todd Pointer
                _______________________________________________________                        Case number
                                                                                                                       14-80287
                                                                                                                (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
         all payments received;
         all fees, costs, escrow, and expenses assessed to the mortgage; and
         all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

         I am the creditor.
         I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




                   /s/ Molly Slutsky Simons
                   __________________________________________________                          Date
                                                                                                        5
                                                                                                       ____/_
                                                                                                                 4__/_______5
                                                                                                                      /2020
                   Signature




 Print              Molly Slutsky Simons
                   _________________________________________________________                   Title
                                                                                                       Attorney for Creditor
                                                                                                       ___________________________________
                   First Name                      Middle Name         Last Name




 Company
                    Sottile and Barile, Attorneys at Law
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:


                    394 Wards Corner Road, Suite 180
 Address           _________________________________________________________
                   Number                 Street


                   Loveland
                   ___________________________________________________
                                                                        OH         45140
                   City                                                State       ZIP Code




 Contact phone     (______) 444 _________
                    513 _____–  4100                                                                   bankruptcy@sottileandbarile.com
                                                                                               Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                            page 2
 Case 14-80287-JJG-13           Doc     Filed 05/04/20    EOD 05/04/20 15:21:03        Pg 3 of 4




                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                                TERRE HAUTE DIVISION

 In Re:                                            Case No. 14-80287-JJG-13

 Brian Todd Pointer
                                                   Chapter 13
 Elizabeth Louise Pointer


 Debtors.                                          Judge Jeffrey J. Graham

                                 CERTIFICATE OF SERVICE

I certify that on May 4, 2020, a copy of the foregoing Notice of Postpetition Mortgage Fees,
Expenses, and Charges was filed electronically. Notice of this filing will be sent to the following
party/parties through the Court’s ECF System. Party/parties may access this filing through the
Court’s system:

          James Raymond Wiesneth, Jr., Debtors’ Counsel
          jrw@wiesnethlaw.com

          Donald L Decker, Trustee
          ecfmail@decker13trustee.com

          Office of the U.S. Trustee
          ustpregion10.in.ecf@usdoj.gov

I further certify that on May 4, 2020, a copy of the foregoing Notice of Postpetition Mortgage
Fees, Expenses, and Charges was mailed by first-class U.S. Mail, postage prepaid and properly
addressed to the following:

          Brian Todd Pointer, Debtor
          663 Durkee's Ferry Rd
          West Terre Haute, IN 47885

          Elizabeth Louise Pointer, Debtor
          663 Durkee's Ferry Rd
          West Terre Haute, IN 47885
Case 14-80287-JJG-13   Doc   Filed 05/04/20   EOD 05/04/20 15:21:03     Pg 4 of 4




                                       Respectfully Submitted,

                                       /s/ Molly Slutsky Simons
                                       Molly Slutsky Simons (OH 0083702)
                                       Sottile & Barile, Attorneys at Law
                                       394 Wards Corner Road, Suite 180
                                       Loveland, OH 45140
                                       Phone: 513.444.4100
                                       Email: bankruptcy@sottileandbarile.com
                                       Attorney for Creditor
